                       Case 5:22-cv-00029-D Document 22 Filed 03/07/22 Page 1 of 3
                                     IZ.'O-z^-D
AO 440(Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.


                                                          PROOF OF SERVICE
                    (This section should not befiled with the court unless required by Fed. R. Civ. P.4(I))

           This summons for (name ofindividual and title, ifany)
 was received by me on (date)


              I personally served the summons on the individual at(place)

           ^wy^ij< £L3ff523   X;
                                                                                           2-2'Ctfi'i' ;or                                ^
           □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
           on (date)                              , and mailed a copy to the individual's last known address; or

           □ I served the Summons on (name of individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                             ; or


           □ I returned the summons unexecuted because                                                                             ; or

           □ Other (specifyf




           My fees are $                          for travel and $                  for services, for a total of $          q.OO


           I declare under penalty of perjury that this information is true.



       : S-1-                 f;
                                                                         \jQ \A.re-        Server's signature



                                                                                       Printed name and title




                                                                 ^2C LA^ UjiLk^/f l^liie/ S ic. b
                                                                                           Server's address
                                                                       O^c olc 7 5iU
 Additional information Regarding attempted service, etc:
Case 5:22-cv-00029-D Document 22 Filed 03/07/22
                                 COMPLETE           Page
                                          THIS SECTION      2 of 3
                                                       ON DELIVERY
  SENDER: COMPLETE THIS SECTION
      I Completo             2,and                                                                                    □ Agent        ^
                                                                                                                      □ Addressee »
      I Print your name|ind address^on the reverse                                                          IC. Diteibf Dgjivety j
        so that we can return the card to you.            B. Re( eiy^d by printed Name)
      I Attach this card to the back of the mailpiece,
        or on the front If space permits.
      1. Article Addressed to:
                                                          D. is delivery address different from Kem 1? ^Yes
                                                              If YES, enter delivery address below:                   □ no




                                                         3. Service Type
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      . PS Form 3811, July 2020 PSN 753Q-02-QOO-9053
            USPS TRACKING#
      Case 5:22-cv-00029-D Document 22 Filed 03/07/22 Page 3 of 3
                                                                      First-class Mall
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